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Gold Coast Ventures, Inc. HID APR 1S

GARNISHEE NAME

9701 WILSHIRE BLVD

GARNISHEE ADDRESS

SUITE 1000 oo 2 ant ° “ 7. _
(ere Aivi
()

sq, ORIGINAL

BEVERLY HILL, CA 90212
800-484-9089

GARNISHEE TELEPHONE

INFO@PRECIOUSMETALSDIRECT.COM

GARNISHEE EMAIL

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, No. CV 18-10588-SJO

Plaintiff, [CR 99-0188-MMM.-4]
Vv. ANSWER OF GARNISHEE
GOLD COAST VENTURES, INC.
VINCENT JOHN RABIOLA, AND PRECIOUS METALS
DIRECT
Defendant.

 

 

 
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DECLARANT STATES:
1. My name is: Vincent Rabiola
2. LTamemployedas President [POSITION] by

 

Gold Coast Ventures, Inc. (hereinafter “Garnishee”) located at:
GARNISHEE/EMPLOYER ADDRESS: 9100 WILSHIRE BLVD. SUITE 407E, BEVERLY HiLL, CA 90212
GARNISHEE/EMPLOYER TELEPHONE: 310-748-1227

3. Tam authorized to make this declaration on behalf of Garnishee.

4. On January 4". 2019 [pate], Garnishee received a Writ of
Continuing Garnishment regarding Vincent John Rabiola (SSN xxx-xx-6275)
(hereinafter “Defendant”).

5. Ihave made a good faith effort to determine Defendant’s identity and have been
able to do so; OR

[J unable to do so because
[EXPLAIN WHY YOU COULD NOT IDENTIFY DEFENDANT]:

 

 

 

 

 

 

6. | Garnishee employed Defendant on 4/18/18
[DATE].
7. Garnishee
[_] terminated Defendant’s employment on [DATE].
OR

continues to employ and pay Defendant wage and earnings as follows:
gross salary at arate of $ 3500 per _ two
weeks
from which there are deductions in the amount of

$ for local taxes,

$ _—-158.75 for state taxes, and
$ 345.67 for federal taxes.
8. Garnishee issues paychecks to Defendant
[] Weekly Bi-weekly LJ Monthly

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(] Other [EXPLAIN].

9. Defendant’s wages
L] are; OR
are not
subject to an existing garnishment or levy for a total amount of $ ata

rate of $ [DEDUCTION PER PAYCHECK] withheld during each pay period.

10. Garnishee understands that the federal District Court has ordered Garnishee to
withhold and retain 25% of Defendant’s disposable earnings (disposable earnings equal
to gross earnings subtracted by local, state, and federal taxes) as of the date that

Garnishee received the Writ of Garnishment until further order from the Court.

11. Garnishee will withhold and retain 25% of Defendant’s disposable earnings until

further order from the Court.

12. Garnishee began withholding 25% of Defendant’s disposable earnings (disposable
earnings equal to gross earnings subtracted by local, state, and federal taxes) on

February 20, 2019 [DATE].

13. Garnishee mailed a copy of this answer by first-class mail on this date to: (a)
Vincent John Rabiola at the address provided by the United States of America, and (b)
The U.S. Attorney’s Office for the Central District of California, ATTN: Financial
Litigation Section, Suite 7516, Federal Building, 300 N. Los Angeles St., Los Angeles,
CA 90012.

I declare under penalty of perjury that I have read the foregoing document and that
the statements made therein are true and correct.

Executed on 4/8/19 [DATE].

 

x Vincs rbeobaz
SIGNATURE OF DECLARANT

 

 
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PROOF OF SERVICE BY MAILING

I,__ Steve Jumes , declare:

I am over the age of eighteen and am not a party to the above-entitled action;

 

.
>

That I am employed by Varghese Summersett PLLC
that on 4/15/2019 [Date], I deposited in the above-entitled

 

action, in an envelope bearing the requisite postage, a copy of ANSWER OF
GARNISHEE GOLD COAST VENTURES, INC. AND PRECIOUS METALS
DIRECT addressed to:

U.S. Attorney’s Office for the Central District of California
ATTN: Financial Litigation Section

Room 7516, Federal Building

300 North Los Angeles Street

Los Angeles, California 90012

Vincent John Rabiola
West Hollywood, California
at their last known address provided by the United States, at which place there is a
delivery service by U.S. Mail.
This Certificate is executed on __ 4/15/2019 [Date], at
Fort Worth [City], Texas [State].
I certify under penalty of perjury that the foregoing is true and correct.

cme

Signatute

 

 

 

 

 
